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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO.: 0:23-cv-61354

    PROGRESSIVE        EXPRESS
    INSURANCE COMPANY,

          Plaintiff,

    vs.

    RASIER-DC, LLC, a foreign limited
    liability    company;       UBER
    TECHNOLOGIES, INC., a foreign
    corporation;    and       KARINA
    MONASTERIO, individually,

         Defendants.
    ____________________________/

                       PROGRESSIVE’S MEMORANDUM IN SUPPORT OF
                           MOTION FOR SUMMARY JUDGMENT

                                           INTRODUCTION
          On July 1, 2017, Florida’s Transportation Network Company Statute, Fla. Stat. § 627.748
   (the “TNC Statute”), went into effect. Fla. Stat. § 627.748. When the Florida Legislature enacted
   the TNC Statute, it could have, but did not, expressly declare that UM/UIM Coverage could not
   be reduced, disclaimed, or rejected. It could have, but did not, mandate that insurers provide
   uninsured/under insured motorist coverage (“UM/UIM Coverage”) or provide such coverage in a
   particular amount. But, again, it did not.
          Admittedly, the Florida Legislature did not ignore UM/UIM Coverage in the TNC Statute.
   Rather, the Florida Legislature expressly contemplated such coverage, and addressed the UM/UIM
   Coverage issue by formally referencing and incorporating Florida’s existing uninsured/under
   insured motorist statute – Fla. Stat. § 627.727 (the “UM/UIM Statute”) – and the accompanying
   body of law surrounding it. See Fla. Stat. § 627.748(7)(b)(1.)(c.) and Fla. Stat. §
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   627.748(7)(c)(1.)(c.).1 Section 627.727, as reflected both in its statutory language and subsequent
   decisions interpreting it, expressly authorizes UM/UIM Coverage to be reduced or eliminated
   entirely. That is what occurred here.
           On March 1, 2022, Progressive Express Insurance Company (“Progressive”), issued a
   “Transportation Network Commercial Auto Policy,” to Rasier-DC, LLC (“Rasier”). Uber
   Technologies, Inc., was a named insured under the policy. Prior to issuing that policy, the named
   insureds were offered provided with the option to procure, but rejected, UM/UIM Coverage on a
   valid UM/UIM Selection Rejection Form. The practical effect was simple – there was no coverage
   under the policy. But, that has not stopped the Defendant, Karina Monasterio (“Monasterio”), from
   claiming to be entitled to such benefits under that policy.
           On May 6, 2022, Monasterio logged into Uber application, accepted a ride, and was
   transporting an individual when she was involved in an accident. As a result of the accident,
   Monasterio claims she was injured and has sought benefits under the policy, claiming, wrongly,
   that Florida’s TNC Statute mandates that Progressive provide $1 Million in UM/UIM benefits
   despite the fact that such coverage was rejected.
           Ultimately, this case, generally, and this Motion, specifically, hinges on resolving a discrete
   legal question – can a Florida TNC reject UM/UIM Coverage. The answer to that question is an
   unequivocal Yes. The statutory language, the reference to and incorporation of Fla. Stat. § 627.727,
   and the existing precedent surrounding Fla. Stat. § 627.727 dictate that result. Once resolved, only
   one factual question remains – was such coverage appropriately rejected. Here, the facts and record
   are not in dispute, UM/UIM coverage was rejected in the statutorily proscribed manner and,
   therefore, Progressive is entitled to the entry of declaratory judgment in its favor in connection
   with its “Amended Complaint for Declaratory Judgment,” [DE 12] and against Monasterio in
   connection with her “Counterclaim/Cross-Claim.” [DE 22].




   1
    Florida’s TNC Statute distinguishes between whether an individual is or is not engaged in a ‘prearranged ride.” See
   Fla. Stat § 627.748. Sections 627.748(7)(b) and (c), involve those two situations. For purposes of this Motion, and
   given the facts involved in the underlying incident, only Fla. Stat. § 627.748(7)(c) is involved.

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                                                    BACKGROUND2
   A.       FLORIDA’S TNC AND UM/UIM STATUTES3
            1.        Florida’s TNC Statute – Fla. Stat. § 627.748
            Florida’s TNC Statute went into effect on July 1, 2022. Fla. Stat. § 627.748. The TNC
   Statute contains separate insurance requirements depending upon whether a ‘prearranged ride,’4 is
   involved. See Fla. Stat. § 627.748(7)(b) and (c). As it is undisputed that this matter involves a
   “prearranged ride,” the operative insurance requirements are set forth in 627.748(7)(c) which
   provides, in pertinent part, as follows:
                   (c)    The following automobile insurance requirements apply
                   while a TNC driver is engaged in a prearranged ride:
                          1.      Automobile insurance that provides:
                                  a.      A primary automobile liability coverage of at
                                  least $1 million for death, bodily injury, and property
                                  damage;
                                  b.      Personal injury protection benefits that meet
                                  the minimum coverage amounts required of a
                                  limousine under ss. 627.730-627.7405; and
                                  c.      Uninsured and underinsured vehicle
                                  coverage as required by s. 627.727.
                          2.      The coverage requirements of this paragraph may be
                          satisfied by any of the following:
                                  a.      Automobile insurance maintained by the
                                  TNC driver or the TNC vehicle owner;
                                  b.      Automobile insurance maintained by the
                                  TNC; or
                                  c.      A combination of sub-subparagraphs a. and
                                  b.
   Fla. Stat. § 627.748(7)(c)(emphasis added).
            The TNC statute does not mandate UM/UIM Coverage in any amount, let alone $1 Million
   of UM/UIM Coverage. Rather, it mandates $1 Million for separate liability coverage involving

   2
     Progressive has contemporaneously filed “Progressive’s Statement of Material Facts,” as required by Rule 56.1 of
   the Local Rules for the United States District Court for the Southern District of Florida. Citations in the form
   “(Progressive SOF, ¶ _)” refer to the paragraph number contained in “Progressive’s Statement of Material Facts.”
   3
     The statutory language of the TNC Statute and the UM/UIM Statute are necessary for context. As these are legal
   matters, not ‘facts,’ in the traditional sense, the statutory cites have been provided and there is not a separate reference
   to them in the Progressive SOF.
   4
     The term “prearranged ride,” is statutorily defined as “the provision of transportation by a TNC driver to a rider,
   beginning when a TNC driver accepts a ride requested by a rider through a digital network controlled by a
   transportation network company, continuing while the TNC driver transports the rider, and ending when the last rider
   exits from and is no longer occupying the TNC vehicle. The term does not include a taxicab or street hail service and
   does not include ridesharing as defined in s. 341.031, carpool as defined in s. 450.28, or any other type of service in
   which the driver receives a fee that does not exceed the driver’s cost to provide the ride.” Fla. Stat. § 627.748(1)(b).

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   death, bodily injury, and property damage. Fla. Stat. § 627.748(7)(c)(1.)(a.) The TNC Statute is
   silent concerning the amount (if any) of UM/UIM Coverage required, providing only that
   UM/UIM Coverage must be provided “as required by s. 627.727.” Fla. Stat. § 627.478(7)(c)(1.)(c.)
   (emphasis added). But, § 627.727 does not mandate any coverage.
            2.       Florida’s UM/UIM Statute – Fla. Stat. § 627.727
            The UM/UIM Statute, § 627.727 sets forth Florida’s UM/UIM coverage requirements,
   generally, as well as the requirements incorporated into Florida’s TNC statute, specifically. At the
   outset, it is significant to note that the statutory requirements differ depending upon whether a
   specifically insured motor vehicle is involved. See Fla. Stat. § 627.727(2).5 With respect to the
   specifically insured motor vehicles, the requirement to maintain UM/UIM Coverage is set forth at
   § 627.727(1). That provides, in pertinent part, as follows:
                     No motor vehicle liability insurance policy which provides bodily
                     injury liability coverage shall be delivered or issued for delivery in
                     this state with respect to any specifically insured or identified motor
                     vehicle registered or principally garaged in this state unless
                     uninsured motor vehicle coverage is provided therein or
                     supplemental thereto for the protection of persons insured
                     thereunder who are legally entitled to recover damages from owners
                     or operators of uninsured motor vehicles because of bodily injury,
                     sickness, or disease, including death, resulting therefrom.

   Fla. Stat. § 627.727(1). But, § 627.727 does not mandate that any person or entity actually maintain
   UM/UIM Coverage. Rather, § 627.727(1) expressly states that UM/UIM Coverage can be reduced
   or eliminated, providing that “[h]owever, the coverage required under this section is not
   applicable when, or to the extent that, an insured named in the policy makes a written
   rejection of the coverage on behalf of all insureds under the policy.” Fla. Stat. § 627.727(1)
   (emphasis added.).
            For policies that do not involve specifically insured motor vehicles, there is no obligation
   to provide UM/UIM Coverage. Fla. Stat. § 627.727(2). Rather, the applicable statute provides that:
                     The limits set forth in this subsection, and the provisions of
                     subsection (1) which require uninsured motorist coverage to be
                     provided in every motor vehicle policy delivered or issued for

   5
    The statute specifically provides that “The limits set forth in this subsection, and the provisions of subsection (1)
   which require uninsured motorist coverage to be provided in every motor vehicle policy delivered or issued for
   delivery in this state, do not apply to any policy which does not provide primary liability insurance that includes
   coverage for liabilities arising from the maintenance, operation, or use of a specifically insured motor vehicle.” Fla.
   Stat. 627.727(2).

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                  delivery in this state, do not apply to any policy which does not
                  provide primary liability insurance that includes coverage for
                  liabilities arising from the maintenance, operation, or use of a
                  specifically insured motor vehicle.

   Fla. Stat. § 627.727(2). Rather, in that situation, the statute provides that “an insurer issuing such
   a policy shall make available as a part of the application for such policy, and at the written request
   of an insured, limits up to the bodily injury liability limits contained in such policy or $1 million,
   whichever is less.” Fla. Stat. § 627.727(2)(emphasis added).
   B.     THE POLICY FORMATION/INCEPTION – THE REJECTION OF UM/UIM
          COVERAGE

          Defendant, Rasier, operated a Transportation Network Company in Florida. (Progressive
   SOF, ¶ 1). On March 1, 2022, Progressive issued a “Transportation Network Company
   Commercial Auto Policy,” Policy Number 06250110-8 (the “Period 2-3 Policy”), to Defendant,
   Rasier as a named insured. (Progressive SOF, ¶ 2). Uber was an additional insured under the Period
   2-3 Policy. (Progressive SOF, ¶ 3).
          1.      The Relevant Policy Terms and Provisions
          The limits of liability coverage under the Period 2-3 Policy are $1,000,000 combined single
   limit. (Progressive SOF, ¶ 4). Admittedly, the Period 2-3 Policy references UM/UIM Coverage,
   providing, in pertinent part, as follows:
                  PART III—UNINSURED MOTORIST

                  INSURING AGREEMENT—UNINSURED                            MOTORIST
                  BODILY INJURY COVERAGE

                  Subject to the Limits of Liability, if you pay the premium for this
                  coverage, we will pay damages, other than punitive or exemplary
                  damages, that an insured is legally entitled to recover from the
                  owner or operator of an uninsured auto because of bodily injury:

                  1.      sustained by an insured;

                  2.    caused by an accident occurring while the TNC driver is
                  engaged in providing a prearranged service; and

                  3.    arising out of the ownership, maintenance, or use of an
                  uninsured auto.

   (Progressive SOF, ¶ 5). But, as addressed, below, such insuring language was never triggered.


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          The Period 2-3 Policy defines the term “accident,” in pertinent part, as “a sudden,
   unexpected and unintended event that causes bodily injury or property damage.” (Progressive
   SOF, ¶ 6)(emphasis in original). The term “insured auto,” is defined, in pertinent part, as “any
   auto while being used by a TNC driver, but only while engaged in providing a prearranged
   service utilizing the ride-share application accessed using that TNC driver’s valid
   credentials;…” (Progressive SOF, ¶ 7)(emphasis in original).
          A “prearranged service,” is defined, in pertinent part, as follows:
                  a.      the operation of any insured auto while the driver is logged
                  on to the ride-share application and has recorded acceptance in the
                  ride-share application of a request to provide covered TNC
                  operations and is engaged in one of the following activities:
                          (i)     traveling to the accepted pick-up location of the
                  passenger(s) or goods to be delivered, including the picking up of
                  any passenger(s) or goods, and the pick-up location is in the state of
                  Florida; or
                          (ii)    traveling to the final destination location of the
                  passenger(s) or goods, including the dropping off of any
                  passenger(s) or goods, and the pick-up location was in the state of
                  Florida;.

   (Progressive SOF, ¶ 8).
          The Period 2-3 Policy also contained an additional definition for the term “insured,”
   concerning Part III coverage, expanding it, as follows:
                  ADDITIONAL DEFINITIONS USED IN THIS PART ONLY
                  When used in this Part III, whether in the singular, plural, or
                  possessive:
                  1. “Insured” means:
                          a.       You;
                          b.       Any TNC driver operating an insured auto who has
                  entered into a contract with you to provide covered TNC
                  operations via the ride-share application and whose contract was
                  in force at the time of the subject accident or loss; and
                          c.       Any person while occupying and insured auto who
                  is using the valid credentials of any other person at the time of the
                  subject accident or loss is not an “insured” for purposes of this Part
                  III.

   (Progressive SOF, ¶ 9).




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          2.      The Relevant Actions Prior to Policy Inception
          Although the Period 2-3 Policy contained references to UM/UIM Coverage, such coverage
   never became part of the Period 2-3 Policy. Such coverages were not provided because Rasier, the
   named insured, did not pay the required premium for UM/UIM Coverage as required under the
   Period 2-3 Policy. (Progressive SOF, ¶ 10). Such premiums were never paid because, on January
   1, 2022, two (2) months before the Period 2-3 Policy’s effective date, Amy Wagner, the insured’s
   Head of North American Insurance, executed a “Florida Rejection or Selection of Uninsured
   Motorist Coverage and Stacked or Non-Stacked Limits,” form (the “UM/UIM Selection Rejection
   Form”). (Progressive SOF, ¶ 11).
          The UM/UIM Selection Rejection Form provided, in pertinent part, as follows:




   (Progressive SOF, ¶ 12). As the applicant, Rasier, acknowledged, $1 Million in UM/UIM
   Coverage was specifically offered, made available, and rejected by it. (Progressive SOF, ¶ 13).
   Furthermore, Rasier specifically admitted that it had, on behalf of all insureds, executed the
   UM/UIM Selection/Rejection Form to reject all such coverages. (Progressive SOF, ¶ 14).
          Finally, and as reflected on the Commercial Auto Insurance Coverage Summary (the
   “Declarations Page”), for the Period 2-3 Policy, the Declarations page specifically reflects that
   UM/UIM Coverage was rejected. (Progressive SOF, ¶ 15). The Declarations Page provides, in
   pertinent part, as follows:




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   (Progressive SOF, ¶ 16). As reflected in the Period 2-3’s Declaration Page, the Limits of Liability
   for UM/UIM Coverage was and is zero because the coverage was rejected. (Progressive SOF, ¶
   17).
   C.     MONASTERIO’S EXECUTION OF AGREEMENTS AKNOWLEDGING NO
          UM/UIM COVERAGE

          The Defendant, Monasterio, downloaded the Uber App to operate as a TNC driver in
   January or February, 2022. (Progressive SOF, ¶ 18). As part of that process to operate as a TNC
   driver, she was required to acknowledge and sign off on agreements before operating. (Progressive
   SOF, ¶ 19). Those agreements specifically included the “Platform Access Agreement.”
   (Progressive SOF, ¶ 20). The Platform Access Agreement that Monasterio signed and executed
   specifically provided that:
                          3.5     Uber Maintained Insurance. We may, in our sole
                  discretion, choose to maintain auto insurance related to your Rides,
                  but we are not required to provide you with any specific coverage
                  for loss to you or your vehicle, unless we specifically describe it in
                  an addendum to this PAA. We can change, reduce or cancel
                  insurance that is maintained by us, if any, at any time without notice
                  to you or authorization from you or authorization from you.

   (Progressive SOF, ¶ 21)(emphasis added).
          Monasterio acknowledged that ‘addendum to the PAA’ addressed available insurance
   coverage to her in Florida. (Progressive SOF, ¶ 22). The operative ‘addendum to the PAA,’ as
   acknowledged by Monasterio, provided, in pertinent part, as follows:
                  Beginning when a User request for transportation has been accepted
                  within the Uber application and ending when the last requesting
                  User departs from your vehicle, a trip is ended, or a trip is cancelled,
                  whichever is later, Company maintains primary automobile liability

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                  insurance in the amount of $1,000,000 for death, bodily injury and
                  property damage. In addition, during this period Company maintains
                  Medical Payments coverage in the amount of $5,000 per insured. If
                  a driver holds Comprehensive and Collision coverage on his/her
                  personal auto policy, then Company also maintains coverage for
                  physical damage to the vehicle with a $2,500 deductible.

   (Progressive SOF, ¶ 23). As Monasterio has acknowledged, neither the Platform Access
   Agreement, nor the operative addendum, mention or suggest that UM/UIM Coverage would be
   provided. (Progressive SOF, ¶ 24).
          Ultimately, Monasterio contends that, at some point, she looked at the Uber App and saw
   a “Certificate of Insurance.” (Progressive SOF, ¶ 25). That document, the Certificate of Insurance,
   disclosed the coverage that was available – liability coverage – but it did not contain the words
   “uninsured/underinsured motorist” anywhere. (Progressive SOF, ¶ 26).
   D.     THE MAY 6, 2022 INCIDENT AND SUBSEQUENT COVERAGE DISPUTE
          On May 6, 2022, Defendant, Monasterio, owned and was driving a 2022 Honda Accord,
   Vehicle Identification No. 1HGCV1F35LA129244 (the “Honda”). (Progressive SOF, ¶ 27). The
   Honda was not specifically identified in the Period 2-3 Policy by make, model, or Vehicle
   Identification number, anything to suggest that it was or would be a ‘specifically insured motor
   vehicle.’ (Progressive SOF, ¶ 28). At that time, Monasterio, logged into the “Uber” ride share
   application and accepted a request on the Uber App to provide a ride for a passenger, Bradford
   Cavanaugh. (Progressive SOF, ¶ 29). At some point prior to 10:45 a.m., Monasterio, picked up
   Cavanaugh at the Hollywood-Fort Lauderdale Airport. (Progressive SOF, ¶ 30). During this pre-
   arranged ride, Monasterio, was driving the Honda when another individual, Michael Israel, lost
   control of his vehicle, spun through three lanes of traffic, and collided with Monasterio’s vehicle.
   (Progressive SOF, ¶ 31). As a result of this incident, Defendant, Monasterio, contends that she has
   sustained significant bodily injuries. (Progressive SOF, ¶ 32).
          On August 17, 2022, Monasterio, filed a lawsuit in the Seventeenth Judicial Circuit in and
   for Broward County, Florida, Case No. CACE-22-012164 (the “Lawsuit”), in connection with the
   May 6, 2022. (Progressive SOF, ¶ 33). In the Complaint, Defendant, Monasterio, asserted claims
   against Progressive in which she contended that she is entitled to receive UM/UIM benefits
   pursuant to the Period 2-3 Policy. (Progressive SOF, ¶ 34). In particular, Monasterio alleged that
   the incident occurred while she was engaged in a “prearranged ride;” with and individual who was


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    under insured, and for which Progressive was obligated to provide UM/UIM Coverage under the
    Period 2-3 Policy. (Progressive SOF, ¶ 35).
           In the wake of that filing, Progressive filed the present action seeking a declaration (albeit
    set forth in multiple counts) that there was no UM/UIM Coverage under the Period 2-3 Policy.
    (Progressive SOF, ¶ 36). In response, Uber and Rasier essentially conceded what Progressive knew
    – there was no such coverage. (Progressive SOF, ¶ 37). But, Monasterio opposed the requested
    declaration, contending that: (i) Progressive had ‘unclean hands,’ and was somehow estopped or
    precluded from denying that there is UM/UIM Coverage under the Period 2-3 Policy; (ii) denying
    the material allegations of the Declaratory Judgment Action; and (iii) filing a Counter Claim
    essentially arguing the opposite (i.e., that the TNC Statute preclude reducing or waiving UM/UIM
    Coverage). (Progressive SOF, ¶ 38). But, that filing does not change the facts, the law, or create a
    question that somehow would preclude the entry of final summary judgment in Progressive’s favor
    with respect both its Declaratory Judgment Action and the Counterclaim.
                                               ARGUMENT
           Resolving this Motion requires the Court to resolve two questions: (i) whether the TNC
    Statute and its express reference and incorporation of the UM/UIM Statute allows the insured TNC
    to reject, and insurers not provide, UM/UIM Coverage consistent with the UM/UIM State; and (ii)
    whether such a reduction or rejection was appropriately made. Based upon existing precedent and
    the undisputed facts, both questions must be answered in the affirmative and summary judgment
    is entirely appropriate in favor of Progressive.
    A.     SUMMARY JUDGMENT STANDARD
           Summary judgment "shall be rendered forthwith if the pleadings, depositions, answers to
    interrogatories and admissions on file, together with the affidavits, if any, show that there is no
    genuine issue as to any material fact and that the moving party is entitled to judgment as a matter
    of law." Fed. R. Civ. P. 56(c). Where the non-moving party fails to prove an essential element of
    its case for which it has the burden of proof at trial, summary judgment is appropriate. See Celotex
    Corp. v. Catrett, 477 U.S. 317, 323, (1986); Hilburn v. Murata Electronics North America, Inc.,
    181 F.3d 1220, 1225 (11th Cir. 1999). Thus, the task is to determine whether, considering the
    evidence in the light most favorable to the non-moving party, there is evidence on which a trier of
    fact could reasonably find a verdict in its favor. See Hilburn, 171 F.3d at 1225; Allen v. Tyson



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    Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997). Here there is no such evidence and Progressive
    is entitled to judgment as a matter of law.
    B.     FLORIDA’S TNC STATUTE DOES NOT MANDATE PROGRESSIVE PROVIDE
           $1 MILLION UM/UIM COVERAGE – RATHER, THE STATUTE EXPRESSLY
           REFERENCE FLORIDA’S UM/UIM STATUTE, A STATUTE THAT ALLOWS
           FOR SUCH COVERAGES TO BE REJECTED

           1.      The Express Statutory Language Contains No Requirement that UM/UIM
                   Coverage be Provided Or Afforded

           The only party that contends that the Period 2-3 Policy must provide coverage, is
    Monasterio. But, this position is predicated upon a flawed premise, that Florida law, specifically
    the TNC Statute, mandated that Progressive provide such coverage. [See DE 22, Counterclaim, ¶
    15]. But, such a position cannot be reconciled with either the statutory language or existing
    principles of statutory interpretation. Florida’s legislature, in enacting §627.748, could have, but
    did not, specify the amount of UM/UIM insurance required. It included specific amounts for other
    types of insurance. See Fla. Stat. §627.748(7)(c)(1)(a.) (mandating “liability coverage of at least
    $1 million for death, bodily injury, and property damage.”). Section 627.748(c), only imposes an
    obligation to obtain uninsured and underinsured motorist coverage “as required by s. 627.727.”
    Fla. Stat. §627.727(7)(c). Similarly, it could have expressly articulated that coverage could not be
    reduced, rejected, or eliminated. Again, it did not, providing only that uninsured and underinsured
    motorist coverage was to be provided “as required by s. 627.727. Fla. Stat. §627.727(7)(c). Put
    simply, the purported ‘legislative intent,’ underlying Monasterio’s conclusion cannot be discerned
    from the statutory language.
           Ultimately, Florida applies the ‘plain meaning rule,’ of statutory construction. See All
    Family Clinic of Daytona Beach, Inc. v. State Farm Mut. Auto. Ins., Co., 685 F.Supp.2d 1297,
    1231 (S.D. Fla. 2010)(Ungaro, J.); citing State v,. Dugan, 685 So. 2d 1210, 1212 (Fla. 1996).
    “Where the language of a statute is clear and unambiguous, there is no room for interpretation.”
    All Family Clinic of Daytona Beach, Inc. v. State Farm Mut. Auto. Ins. Co., 685 F.Supp.2d 1297,
    1301 (S.D. Fla. 2010). Here, the TNC Statute specifically provides that UM/UIM Coverage is to
    be provided “as required by s. 627.727.” Fla. Stat. §627.748(7)(c). The TNC Statute’s express
    reference to uninsured and underinsured motorist coverage “as required by s. 627.727,” reflects
    the clear intent that the requirements of section 627.727 would control whether, and how much,
    uninsured or underinsured coverage would be provided.

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             The statutory provisions cited by Monasterio in the Counterclaim do not support some
    different application of the ‘plain meaning rule.’ [See DE 22, p. 10, ¶ 23]. Section 627.748(7)(c)
    only imposes an obligation to obtain uninsured and underinsured motorist coverage “as required
    by s. 627.727.” Fla. Stat. §627.748(7)(c). Furthermore, §627.748(7)(d), mandates only that the
    “TNC must provide the coverage required under this subsection.” All that is required under the
    sub-section is coverage required by §627.727; coverage which, pursuant to statute, can be rejected.
    As discussed below, §627.727 allows a party to reject such coverage.
             2.     Florida’s UM/UIM Statute and Subsequent Florida Decisions Recognize that
                    UM/UIM Coverage Can be Reduced or Rejected – Therefor the Assertion that
                    UM/UIM Coverage Cannot Be Rejected is Untenable

             Florida’s UM/UIM statute distinguishes between policies that provide coverage for
    specifically identified automobiles from other policies. See Fla. Stat. §627.727(1), (2); Nieves v.
    N. River Ins. Co., 49 So. 3d 810 (Fla. 4th DCA 2010); Zurich Am. Ins. Co. v. Cernogorsky, 211
    So. 3d 1119 (Fla. 3d DCA 2017). Section 627.727(1) provides, in pertinent part, as follows:
                    No motor vehicle liability insurance policy which provides bodily
                    injury liability coverage shall be delivered or issued for delivery in
                    this state with respect to any specifically insured or identified motor
                    vehicle registered or principally garaged in this state unless
                    uninsured motor vehicle coverage is provided therein or
                    supplemental thereto for the protection of persons insured
                    thereunder who are legally entitled to recover damages from owners
                    or operators of uninsured motor vehicles because of bodily injury,
                    sickness, or disease, including death, resulting therefrom.

    Fla. Stat. §627.727(1). Importantly, §627.727 does not mandate that any person or entity maintain
    UM/UIM insurance. In particular, §627.727 expressly states that UM/UIM coverage can be
    reduced or eliminated, providing that “[h]owever, the coverage required under this section is not
    applicable when, or to the extent that, an insured named in the policy makes a written rejection of
    the coverage on behalf of all insureds under the policy.” Fla. Stat. §627.727(1) (emphasis added).
    Florida’s UM/UIM statute literally provides that UM/UIM coverage, even for specifically
    identifiable and insured vehicles, is not required – it can be rejected. See Brown-Peterkin v.
    Williamson, 307 So. 2d 45 (Fla. 4th DCA 2020) (acknowledging the ability, under the statute, to
    reject or obtain lower UM/UIM limits); Geico Indem. Co. v. Perez, 260 So. 3d 342 (Fla. 3rd DCA
    2018).



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           Equally important, however, is the distinction made at sub-paragraph two (2) which
    provides that the requirements to obtain even a written rejection are inapplicable to situations in
    which a specifically identified vehicle is not involved. Section 627.727(2) provides, in pertinent
    part, as follows:
                   The limits set forth in this subsection, and the provisions of
                   subsection (1) which require uninsured motorist coverage to be
                   provided in every motor vehicle policy delivered or issued for
                   delivery in this state, do not apply to any policy which does not
                   provide primary liability insurance that includes coverage for
                   liabilities arising from the maintenance, operation, or use of a
                   specifically insured motor vehicle.

    Fla. Stat. 627.727(2)(emphasis added).
           Pursuant to Section 627.727(2), where the vehicle is not ‘specifically insured or identified,’
    in the Policy, the requirements of 627.727(2), not 627.727(1), control. See Hooper v. Zurich Ins.
    Co., 789 So. 2d 368 (Fla. 2d DCA 2001). Rather, all that is required is that the applicant be notified
    of the availability of UM/UIM coverage. See Fla. Stat. §627.727(2); Weesner v. United Servs.
    Auto. Ass’n, 711 So. 2d 1192, 1193 (Fla. 5th DCA 1998); citing Tres v. Royal Surplus Lines Ins.
    Co., 705 So. 2d 643 (Fla. 3d DCA 1998).
                                              *       *       *
           By implementing the TNC statute, a statute that expressly incorporated §627.727, the
    Florida legislature is presumed to know the existing law concerning §627.727, including the ability
    to reject UM/UIM coverage. Potter v. Potter, 317 So. 3d 255, 258 (Fla. 1st DCA 2021). It cannot,
    therefore, be seriously contended that the legislature passed a law, one which referenced and
    expressly incorporated another (one that expressly authorized rejections, reductions, or wholesale
    waivers of UM/UIM coverage), but did not intend for those provisions to apply. As such, there is
    simply one conclusion – the TNC Statute does not mandate, and UM/UIM Coverage can be
    rejected.
    C.     PURSUANT TO EXISTING PRECEDENT, UM/UIM COVERAGE WAS
           VALIDLY AND APPROPRIATELY REJECTED BY THE INSURED

           Having resolved the statutory question – whether coverage can be rejected, only one issue
    remains – resolving whether coverage was, in fact, appropriately rejected here. Resolving that
    question, fortunately, is easy because as there are no disputed factual questions and the coverage
    was appropriately rejected under either § 627.727(1) or (2).

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           1.      UM/UIM Coverage Was Offered and Declined in Compliance with Fla. Stat.
                   § 627.727(2)

           As an initial matter, the Period 2-3 Policy neither identifies nor covers “a specifically
    insured motor vehicle.” The Policy did and does not identify a specific vehicle nor is the 2022
    Honda specifically identified. (Progressive SOF, ¶ 26). Rather, the Period 2-3 Policy applied, if at
    all, to incidents involving “insured autos.” The term “insured auto,” is not limited to a specific
    vehicle identified in a dec page or the policy. Rather, it is defined as any vehicle being used by a
    transportation network company driver. (Progressive SOF, ¶ 7). Stated differently, the Period 2-3
    Policy does not cover a specifically identified vehicle; it covers an activity. Coverage is afforded
    for potentially any (or no) vehicle, depending upon whether particular services are being provided,
    not whether a specific vehicle is involved. (Progressive SOF, ¶ 7).
           Pursuant to Section 627.727(2), where the vehicle is not ‘specifically insured or identified,’
    in the Policy, the requirements of 627.727(2), not 627.727(1), control. See Hooper v. Zurich Ins.
    Co., 789 So. 2d 368 (Fla. 2d DCA 2001). Rather, all that is required is that the applicant be notified
    of the availability of UM/UIM coverage. See Fla. Stat. §627.727(2); Weesner v. United Servs.
    Auto. Ass’n, 711 So. 2d 1192, 1193 (Fla. 5th DCA 1998); citing Tres v. Royal Surplus Lines Ins.
    Co., 705 So. 2d 643 (Fla. 3d DCA 1998). Here, although more traditionally evaluated in the context
    of Fla. Stat 627.727(1), the UM/UIM Selection Rejection Form, was specifically provided to the
    applicant. It reflects, and the applicant/Defendant, Rasier, concedes, that $1 Million in UM/UIM
    coverage, the amount required by statute, was specifically offered, made available, and rejected
    by the applicant, Rasier. (Progressive SOF, ¶ 13). As such, there is a valid rejection under Fla.
    Stat. 627.727(2).
           2.      Alternatively, to the Extent that this Court Believes that a Specifically Insured
                   Auto Was Involved – the Requirements of § 627.727(1) Were Satisfied

           In the event that there is some suggestion, which Progressive would dispute, that the Period
    2-3 Policy somehow concerns a specifically identifiable auto despite the fact that no make, model,
    vehicle identification number, etc., is identified anywhere within the policy, or that the Honda
    qualifies as such a specifically insured vehicle, that does not change the result where, as here,
    Progressive obtained a written express rejection of UM/UIM Coverage as required by §627.727(1).
    Section 627.727 expressly states that UM/UIM coverage can be reduced or eliminated, providing
    that “[h]owever, the coverage required under this section is not applicable when, or to the extent

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    that, an insured named in the policy makes a written rejection of the coverage on behalf of
    all insureds under the policy.” Fla. Stat. §627.727(1) (emphasis added). Florida’s UM/UIM
    statute literally provides that UM/UIM coverage is not required – it can be rejected. See Brown-
    Peterkin v. Williamson, 307 So. 2d 45 (Fla. 4th DCA 2020) (acknowledging the ability, under the
    statute, to reject or obtain lower UM/UIM limits); Geico Indem. Co. v. Perez, 260 So. 3d 342 (Fla.
    3rd DCA 2018).
           Here, the applicant has expressly acknowledged making a written rejection of UM/UIM
    Coverage on behalf of all insureds. (Progressive SOF, ¶ 14). There is no dispute that the statutory
    burden has been satisfied.
    D.     AS COVERAGE WAS APPROPRIATELY AND VALIDLY REJECTED – THERE
           IS NO LEGAL BASIS UPON WHICH TO CONCLUDE THAT PROGRESSIVE IS
           OBLIGATED TO AFFORD UM/UIM COVERAGE OR BENEFITS AND
           PROGRESSIVE IS ENTITLED TO JUDGMENT AS A MATTER OF LAW

           Where the is no underlying coverage, there is no corresponding duty to provide indemnity
    benefits. See State Farm Mut. Auto. Ins. Co. v. Lampilia, 2023 U.S. Dist. LEXIS 1167987 (S.D.
    Fla. Aug. 28, 2023)(Dudek, Mag. J.). Where, as here, the coverage Monasterio contends exists,
    does not, one must discern whether there is any other basis upon which one may conclude that
    coverage may exist. The problem is – there is none. Although Monasterio has suggested that
    coverage may be afforded because of ‘[Progressive] misled her into believe (sic.) that Progressive
    offered UM/UIM insurance coverage through Progressive’s statements…” [DE 22, p. 5], such a
    position lacks legal or factual merit.
           As an initial matter, Florida generally does not recognize coverage by estoppel and, by
    extension, this ‘unclean hands,’ theory to impose a coverage obligation here. See Gotham Ins. Co.
    W. Coast Fire Prot. Corp., 752 Fed. Appx. 793, 798 (11th Cir. 2018). The narrow exception to the
    general rule provides that it would operate where “to do so would require sanction fraud or other
    injustice.” Gotham Ins., 752 Fed. Appx. at 798; citing AIU Ins. v. Block Marina Inv., Inc., 544 So.
    2d 998, 1000 (Fla. 1989). But, in order to establish such a position, Monasterio was required to,
    but cannot, establish that Progressive made a representation as to a material fact that is contrary to
    a later-asserted position, (2) reliance on that representation, and (3) a change in position
    detrimental to the party claiming estoppel, caused by the representation and reliance thereon." Id.;
    citing Tome v. State Farm Fire & Cas. Co., 125 So. 3d 864, 867 (Fla. Dist. Ct. App. 2013) (internal
    quotation marks omitted). But no such showing can be made here.

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           First, there is no change in position or misrepresentation by Progressive to Monasterio;
    Progressive has consistently maintained that there is no UM/UIM Coverage under the Period 2-3
    Policy. In addition, it never misrepresented anything to Monasterio. As reflected in the TNC
    statute, the TNC (not the insurer), is required to disclose “the insurance coverage, including types
    of coverage and the limits for each coverage, which the TNC provides while the TNC driver uses
    a TNC vehicle in connection with the TNC’s digital network.” Fla. Stat. §627.748(8)(a)(1). By
    statute, the TNC had a duty to disclose what coverages were available; not what coverages were
    rejected. Here, that duty was satisfied by providing the accessible Certificate of Insurance
    indicated that there was: (i) $1 million of bodily injury and property damage coverage (combined
    single limit); (ii) comprehensive collision coverage; and (iii) medical payments coverage.
           Second, even what Monasterio contends is the purported misrepresentation, is not
    actionable. Monasterio alleged that Progressive has unclean hands and is therefore precluded from
    denying coverage because of a purported failure to disclose “that Uber/Rasier attempted to waive
    UM/UIM insurance coverage.” [DE 22, p. 5]. As an initial matter – there is simply no duty to
    disclose what coverages were rejected. See Fla. Stat. § 768.748(a). In addition, such an assertion
    cannot be reconciled with the undisputed record – Monasterio received and signed the Platform
    Access Agreement in which she advised that the insurance available would be described in the
    ‘addendum.’ Monasterio acknowledged and admitted that the there was never a representation by
    Progressive or anyone that there was UM/UIM Coverage – neither the PAA, the addendum, nor
    the Certificate of insurance she claims to have seen even mentioned UM/UIM Coverage.
    (Progressive SOF, ¶¶ 22-26). Neither Monasterio nor anyone else can establish coverage by
    ignoring the very agreements she signed and acknowledged. Oter-Ramos v. Serv. Fin. Co., LLC,
    202 U.S. Dist. LEXIS 76952 (S.D. Fla. May 1, 2020)(Smith, J.) (recognizing that a party to a
    contract is conclusively presumed to known and understand the contents, terms, and conditions of
    the contract).
           The fact is that Progressive never made any representations to Monasterio concerning
    UM/UIM coverage and was under no obligation to notify her of the rejection of such coverage. As
    such, there is no misrepresentation and the estoppel/unclean hands theory raised by Monasterio as
    an affirmative defense is inapplicable.




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                                             CONCLUSION
           The Florida Legislature, when it adopted the TNC Statute, could have, but did not, impose
    a new, separate, or different obligation upon insurers to provide UM/UIM Coverage. Rather, it
    implemented a statutory scheme that was consistent with and expressly adopted the UM/UIM
    Statute and its existing framework and precedent, one which expressly acknowledges that such
    coverage can be rejected.
           Here, Rasier, the named insured, rejected such coverage. As a result, Progressive cannot
    and should not be required to provide coverage for something that is not mandated, that was
    rejected, and that its insured never contracted for. There is no factual or legal question precluding
    judgment, and Progressive would request that this Court grant its motion, and enter judgment in
    its favor, and against the Defendants with respect to its Declaratory Judgment Action, and similarly
    enter judgment in its favor and against Monasterio in connection with her Counterclaim, and enter
    a declaration consistent with the relief sought in Progressive’s Amended Complaint for
    Declaratory Judgment and the present Motion for Summary Judgment.




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     Dated: January 25, 2024                      Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Clerk
    of Court using the CM/ECF system on January 25, 2024, and the foregoing document is being
    served this day on all counsel or parties of record on the Service List below, either via transmission
    of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
    counsel or parties who are not authorized to receive Notices of Electronic Filing.

                                           ___/s/ Patrick K Dahl________
                                           Patrick K. Dahl, Esquire




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